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           EXHIBIT B
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                                                                         1

 1   SUPREME COURT OF THE STATE OF NEW YORK
 2   COUNTY OF NEW YORK:     CIVIL TERM PART: 37

 3   -- ----------------------------------------X
 4   PEOPLE OF THE STATE OF NEW YORK, BY
     LETITIA JAMES, ATTORNEY GENERAL OF THE
 5   STATE OF NEW YORK,

 6                            Plaintiff,
                                                     Index No.
 7                   -against-
                                                     452564/2022
 8
     DONALD J. TRUMP; DONALD TRUMP JR.;
 9   ERIC TRUMP; IVANKA TRUMP; ALLEN
     WEISSELBERG;JEFFREY McConney; THE
10   DONALD J. TRUMP REVOCABLE TRUST; THE
     TRUMP ORGANIZATION, INC.; DJT HOLDINGS
11   MANAGING MEMBER; TRUMP ENDEAVOR 12,
     LLC; 401 NORTH WABASH VENTURE, LLC
12   TRUMP OLD POST OFFICE, LLC; 40 WALL
     STREET, LLC AND SEVEN SPRINGS, LLC,,
13
                           Defendants.
14   ----------------------------------------X

15                               60 Centre Street
                                 New York, New York 10007
16                               January 11, 202
17   B E F O R E:
                    HON. ARTHUR F. ENGORON,, JSC.
18
     A P P E A R A N C E S:
19
     FOR THE PLAINTIFFS:
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         COLLEEN K. FAHERTY, ESQ.
23       ANDREW AMER, ESQ.
         ERIC HAREN, ESQ.
24       LOUIS SOLOMON, ESQ.
         MARK LADOV, ESQ.
25       SHERIEF GABER, ESQ.
         ALEX FINKELSTEIN, ESQ.
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                                                                         2

 1
 2   A P P E A R A N C E S: (Cont.)

 3
 4   FOR THE DEFENDANTS:

 5   CONTINENTAL PLLC.
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 6   Tallahassee, Florida
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 8
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16
17
                                    DINA M. LUDWICKI, RPR
18                                  Senior Court Reporter

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21
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23

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                                 -Closing Statement-                              112

 1      had done anything wrong.       If that doesn't speak volumes, I

 2      don't know what does.

 3                  So with 15 seconds left, Your Honor, I would

 4      respectfully request that all the counts against my clients

 5      be dismissed and that there be no order of disgorgement

 6      against him.

 7                  Thank you.

 8                  THE COURT:    So, Mr. Kise, not only is he an

 9      expert on the CPLR, but he can present a very enthusiastic

10      argument.
11                  MR. KISE:    Again, they just put all the weight on

12      my shoulders and then decided to travel on.
13                  I would ask Your Honor, I think I would ask you

14      reconsider, allow President Trump to address the Court for

15      two or three minutes.      The reason that I didn't feel that
16      your restrictions were appropriate because, frankly, your

17      restrictions stated in the email went beyond what was

18      required under the law.       They do have ambiguities.         None of

19      us today have commented on anything outside the appropriate

20      bounds of closing argument.       I don't believe President

21      Trump will either.      I think, under the circumstances you
22      should hear from him.

23                  All these people back here certainly want to hear

24      from him, and I think as you say in your own email, you
25      would benefit from hearing everything.         There is no one
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                                 -Closing Statement-                           113

 1      person more impacted by the decision you're going to make
 2      than President Trump here.       So I would ask that the Court

 3      allow him to speak now briefly now and address the Court
 4      and present his views to you.

 5                  THE COURT:    Well, this is not how it should have

 6      been done.

 7                  Mr. Trump, let me address you directly and
 8      Mr. Kise at the same time.       If I let you speak for five

 9      minutes, I think that's what I will do, if you promise to
10      just comment on the law and facts, application of one to
11      the other and not go outside of that?

12                  Mr. Kise, is that reasonable?
13                  PRESIDENT TRUMP:     Well, I think, your Honor, that

14      this case goes outside of just the facts.

15                  The facts are that the financial statements were
16      perfect.    That there was no witnesses against us.         The
17      banks got all their money paid back.           They were great

18      loans.    The banks are happy as can be.

19                  I mentioned the name Zurich, and Zurich, one of

20      the most prestigious property and most prestigious

21      insurance company in the world.        They represent us right
22      now.    Supposed somebody said we defrauded them?         I spoke to

23      an executive at Zurich and they said:           You didn't defraud

24      us.    If you defrauded us, we wouldn't be representing --

25      they represent us right now.       They weren't defrauded.
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                                -Closing Statement-                               114

 1                  There wasn't one witness against us, and this
 2      does go outside of the bounds of what we're talking about.

 3      This is a political witch hunt that was set aside by --
 4      should be set aside.      We should receive damages for what

 5      we've gone through, for what they've taken this company

 6      through.    We have millions pages of documents and they

 7      don't have one document.      They have nothing.      They do have
 8      a triplex where they made a mistake and they corrected it

 9      immediately when it was made, and it was di-minimus,
10      because the amount of the money they're talking about
11      compared to the billions of dollars of net worth is

12      irrelevant.    It's virtually irrelevant.       It's a very small
13      number.    It was a mistake that was corrected.        That's the

14      only thing I ever read in the papers, their triplex.              They

15      made a mistake, it was an honest mistake, some broker told
16      them 30 because he took -- the floors are approximately
17      10,000 feet, they heard, as you say, triplex, and they

18      multiplied times three.

19                  Something like that can happen.       When they found

20      it was the mistake, they immediately corrected it.              I'm not

21      so sure that the dollar amount would have been so far off,
22      frankly, if you want to know, whatever the amount was.              It

23      was around the 250 number.       But it's a -- it's a very

24      small, it's a very small number.

25                  But when you say don't go outside of these
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                                -Closing Statement-                                 115

 1      things, we have a situation where I'm an innocent man.
 2      I've been persecuted by somebody running for office, and I

 3      think you have to go outside the bounds, because people,
 4      and you could read all the articles you want to read, but

 5      you look at the legal prognosticators, the legal scholars

 6      talking about this case, they find it disgraceful.              The

 7      first time for a reason like this where there's -- you've
 8      ever used this statute.      This statute is viscous.       It

 9      doesn't give me a jury.      It takes away all my rights.          And
10      it is, in fact, a statute used for consumer fraud.              This is
11      not consumer fraud.     This is no fraud.      This is a fraud on

12      me.
13                 What's happened here, sir, is a fraud on me.               You

14      know, other companies leave, they did it with Exxon.              Exxon

15      pays billions of dollars in taxes and they're now paying to
16      Texas, and I went out and forced them that they want to
17      make sure I'm never --

18                 I just added up the other day the amount of taxes

19      I've paid over the amount of the period that these people

20      say, which, by the way, is absolutely limited by the

21      Statute of Limitations.      We won that case in the Court of
22      Appeals.   But I said how much tax have I paid over this?

23      It's close the $300 million in tax.        They don't want me

24      anymore.   They don't want me here.       I have done a lot of

25      great things.    I have built buildings all over the City.
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                                 -Closing Statement-                         116

 1      I've never had a problem.       All of a sudden I have a
 2      problem.    I guess because I ran for office I have a problem

 3      because they want to make sure that I don't win again, that
 4      this is partially election interference.          But, in

 5      particular, the person in the room right now hates Trump

 6      and uses Trump to get elected.        And if I'm not allowed to

 7      talk about that, I think it really is a disservice because
 8      that is a very big part of this case.          I would say that's

 9      100 percent.
10                  Without all of that, Your Honor, with all of
11      these days and months and years and millions and millions

12      pages, big company, they found nothing.          And now she comes
13      in and says, we want to make a $250 million fine, $370

14      million.    For what?    I borrowed money from the bank, much

15      smaller than the number you are talking about, much smaller
16      than 370.    One of the reasons I borrowed money is the bank
17      wanted me to.    That's how they make money.        The bank said

18      you should actually have -- the head of Deutsche Bank came

19      to see me -- I know this is boring for you.

20                  THE COURT:    One minute, Mr. Trump.

21                  PRESIDENT TRUMP:     You have your own agenda, I can
22      certainly understand that.       You can't listen for more than

23      one minute.    This has been a persecution of somebody that's

24      done a good job in New York.

25                  THE COURT:    Mr. Kise, please control your client.
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                                -Closing Statement-                          117

 1                 By the way, you said you never had a problem;
 2      haven't you been sued before?

 3                 PRESIDENT TRUMP:      I have been sued.     Sure, I've
 4      been sued.

 5                 THE COURT:     Isn't that a problem?

 6                 PRESIDENT TRUMP:      Most suits, but this is a suit

 7      that it seems I should have won many times.          We've asked
 8      for directed verdict almost every time a witness took the

 9      stand.   We've asked for a directed verdict and we were
10      immediately shut down.
11                 Your Honor, look, I did nothing wrong.          They

12      should pay me for what we had to go through, what they have
13      done to me reputationally and everything else.          We have a

14      great company.    It's a successful company, a liquid

15      company, like a lot of real estate companies are.
16                 We sell the best assets in the world, and she
17      sued me to try to get publicity to run for office, and that

18      includes running for governor, where she failed.

19                 THE COURT:     It's 1:00 o'clock.     Mr. Kise, we have

20      to go anyway, the court officers are looking at me.

21                 Thank you, Mr. Trump.
22                 PRESIDENT TRUMP:      Thank you.

23                 THE COURT:     See you all at 2:15.

24                 Continued on next page.

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